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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 9:18-CV-80176-BLOOM/REINHART


  IRA KLEIMAN, as personal representative of
  the estate of David Kleiman, and W&K INFO
  DEFENSE RESEARCH, LLC

          Plaintiffs,
  v.

  CRAIG WRIGHT,

        Defendant.
  _____________________________________/


       UNOPPOSED MOTION TO WITHDRAW JAMES E. GILLENWATER, ROBERT S.
       GALBO, ALEXA ROSENSON AND THE LAW FIRM OF GREENBERG TRAURIG,
          P.A. AS ATTORNEYS OF RECORD FOR DEFENDANT, CRAIG WRIGHT

          Pursuant to Local Rule 11.1(d)(3), the undersigned counsel for Defendant Craig Wright

  (“Defendant”) respectfully request the entry of an order granting their unopposed Motion to

  Withdraw as counsel for Defendant in the above-captioned matter, and in support state:

          1.      Greenberg Traurig, P.A. and attorneys James E. Gillenwater, Robert S. Galbo, and

  Alexa J. Rosenson (collectively “GT”) are presently counsel for Defendant.

          2.      There is good cause for withdrawal here because it can be accomplished without

  material adverse effect on the interests of Defendant. See Rule 4-1.16(b)(1), Rules Regulating The

  Florida Bar. The only live issue remaining in the case is the amount of attorneys’ fees to be

  awarded pursuant to the Court’s March 15, 2024 Paperless Order. ECF No. 1077. Defendant has

  been fully informed on that issue and consents to counsel’s withdrawal at this time. See S.D. Fla.

  LR 11.1(D)(3); Rule 4-1.16(b)(1); Cavalieri v. Avior Airlines C.A., No. 17-CV-22010, 2022 WL

  18458125, at *1 (S.D. Fla. June 5, 2022) (granting unopposed motion for withdrawal where it “can


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  be accomplished without material adverse effect on the interests of the client”).

          3.     Pursuant to Local Rule 11.1(d)(3), the undersigned has also provided notice of the

  requested withdrawal to counsel for Plaintiff, who advised that Plaintiff does not oppose the relief

  sought herein. The current mailing address for Defendant was previously permitted to be redacted

  from the docket for security reasons, and can be found at Docket Entry 1016. See also ECF No.

  1055.

          WHEREFORE, Greenberg Traurig P.A., James E. Gillenwater, Robert S. Galbo, and

  Alexa J. Rosenson respectfully request the entry of an order permitting them to withdraw as

  counsel for Defendants, absolving them of any further duties or responsibilities in representing

  Defendant in this lawsuit, removing them from the CM/ECF roster in this case, and affording any

  other just and proper relief. A proposed order of withdrawal is attached at Exhibit 1.

                             LOCAL RULE 7.1(A)(3) CERTIFICATE

          Under Local Rule 7.1(a)(3), undersigned counsel hereby certifies that counsel for

  Defendants conferred with counsel of record for Plaintiff on June 4, 2024, who advised that

  Plaintiff does not oppose the relief sought herein.




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  Date: June 5, 2024                                 Respectfully submitted,

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                                                     By: /s/James E. Gillenwater
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                                                             Florida Bar No. 1040669
                                                             Email: alexa.rosenson@gtlaw.com

                                                            Counsel for Defendant Craig Wright


                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 5th day of June, 2024, I electronically filed the
  foregoing with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
  is being served this day on counsel of record via transmission of Notices of Electronic Filing
  generated by CM/ECF, or in some other authorized manner for those counsel or parties who are
  not authorized to receive Notices of Electronic Filing.




                                                            /s/ James E. Gillenwater
                                                             JAMES E. GILLENWATER




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